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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                        Criminal Action No. 24-97 (CKK)
 ANDREW CARVAJAL,
             Defendant.


                            MEMORANDUM OPINION & ORDER
                                  (January 23, 2025)

                                                I.

       The Government charged Defendant Andrew Carvajal by information with four

misdemeanor counts for his alleged conduct during the riot at the United States Capitol on

January 6, 2021:

             •   Count One: Entering and Remaining in a Restricted Building or Grounds, in
                 violation of 18 U.S.C. § 1752(a)(1);

             •   Count Two: Disorderly and Disruptive Conduct in a Restricted Building or
                 Grounds, in violation of 18 U.S.C. § 1752(a)(2);

             •   Count Three: Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C.
                 § 5104(e)(2)(D); and

             •   Count Four: Parading, Demonstrating, or Picketing in a Capitol Building, in
                 violation of 40 U.S.C. § 5104(e)(2)(G).

See Information, ECF No. 21.

       Carvajal was arraigned on these charges in March 2024 and entered a plea of “not guilty”

as to each count. Min. Order (Mar. 19, 2024). The parties completed discovery in November 2024

while engaging in plea negotiations. Min. Order (Nov. 1, 2024). On November 8, 2024, Carvajal

informed the Court that he intended to accept the Government’s plea offer. Min. Order (Nov. 8,

2024). Carvajal signed a statement of offense recounting his actions on January 6, 2021. But at


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his plea hearing, Carvajal could “not recall portions of the factual proffer relevant to the elements

of the offense to which he intended to plead guilty.” Min. Order (Jan. 7, 2025). Carvajal is

scheduled to return for a continued plea hearing on January 28, 2025. Id.

                                                 II.

          On January 21, 2025, the Government moved to dismiss the information against Carvajal

with prejudice under Federal Rule of Criminal Procedure 48(a). Gov’t’s Mot. to Dismiss, ECF

No. 33.     As the “reason for this dismissal,” the Government cites an as-yet unnumbered

presidential Proclamation titled “Granting Pardons and Commutation of Sentences for Certain

Offenses Relating to the Events at or Near the United States Capitol on January 6, 2021.” Id. That

Proclamation, in relevant part, “direct[s] the Attorney General to pursue dismissal with prejudice

to the Government of all pending indictments against individuals for their conduct related to the

events at or near the United States Capitol on January 6, 2021.” Unnumbered Proclamation, _ _

Fed. Reg. _ _ _ _ (Jan. 20, 2025), https://perma.cc/W4NT-4K4S. Carvajal has noticed his consent

to the Government’s motion. Def.’s Resp., ECF No. 34.

          By its terms, Rule 48(a) allows the Government, “with leave of court” to “dismiss an

indictment, information, or complaint.” Fed. R. Crim. P. 48(a). The Court must therefore consider

whether to grant its leave to dismiss this case. See United States v. Ammidown, 497 F.2d 615, 620

(D.C. Cir. 1973) (noting that the “requirement of judicial leave” in Rule 48 “gives the court a role

in dismissals following indictment,” even when “the defendant concurs in this dismissal”); United

States v. Flynn, 507 F. Supp. 3d 116, 126–31 (D.D.C. 2020) (EGS) (analyzing the scope of a trial

court’s discretion under Rule 48(a)); see also Rinaldi, 434 U.S. at 30 n.15 (noting that Rule 48

“obviously vest[s] some discretion in the court” without deciding whether that discretion extends

to cases in which the defendant consents to dismissal). To inform this analysis, the Court may



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“require a statement of reasons and underlying factual basis” for the Government’s motion to

dismiss. See Ammidown, 497 F.2d at 620.

        Here, the Government’s only stated reason for pursuing dismissal with prejudice is that the

President has ordered the Attorney General to do so. See Gov’t’s Mot. (citing Unnumbered

Proclamation, _ _ Fed. Reg. _ _ _ _ (Jan. 20, 2025), https://perma.cc/W4NT-4K4S). On the record

before it, the Court does not discern any defect in either the legal merits of, or the factual basis for,

the Government’s case that would require dismissal. But recognizing that “the Executive Branch

has exclusive authority and absolute discretion to decide whether to prosecute a case,” the Court

shall not require a further explanation here. See United States v. Nixon, 418 U.S. 683, 693 (1974).

                                                  III.

        Dismissals of charges, pardons after convictions, and commutations of sentences will not

change the truth of what happened on January 6, 2021. What occurred that day is preserved for

the future through thousands of contemporaneous videos, transcripts of trials, jury verdicts, and

judicial opinions analyzing and recounting the evidence through a neutral lens. Those records are

immutable and represent the truth, no matter how the events of January 6 are described by those

charged or their allies.

        What role law enforcement played that day and the heroism of each officer who responded

also cannot be altered or ignored. Present that day were police officers from the U.S. Capitol

Police and those who came to their aid when called: the D.C. Metropolitan Police Department,

Montgomery County Police Department, Prince George’s County Police Department, Arlington

County Police Department, and Fairfax County Police Department. Grossly outnumbered, those

law enforcement officers acted valiantly to protect the Members of Congress, their staff, the Vice

President and his family, the integrity of the Capitol grounds, and the Capitol Building—our



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symbol of liberty and a symbol of democracy around the world. For hours, those officers were

aggressively confronted and violently assaulted. More than 140 officers were injured. Others

tragically passed away as a result of the events of that day. But law enforcement did not falter.

Standing with bear spray streaming down their faces, those officers carried out their duty to protect.

       All of what I have described has been recorded for posterity, ensuring that what transpired

on January 6, 2021 can be judged accurate!y in the future.

                                                ***

       In light of the foregoing, it is hereby ORDERED that:

       •   The Government's [33] Motion to Dismiss is GRANTED;

       •   The [6] Information is DISMISSED WITH PREJUDICE pursuant to Federal Rule
           of Criminal Procedure 48(a);

       •   All scheduled deadlines and proceedings, including the January 28, 2025 plea hearing,
           are VACATED;

       •   The [11] Amended Order Setting Conditions of Release is VACATED; and

       •   All pending motions are DENIED AS MOOT.

The Clerk of the Court is respectfully directed to close this case.

       SO ORDERED.

       Dated: January 23, 2025


                                                      COLL�Lli&M�5
                                                      United States District Judge




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